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BitMEX Market Making Desk
Arthur Hayes 30 Apr 2018


We have recently updated our Terms of Service to explicitly clarify the relationship between BitMEX
the trading platform, and an a liated entity that engages in market making.


ToS Update

BitMEX has a for-pro t trading business that, among other things, transacts in products traded on the
BitMEX platform. The trading business primarily trades as a market maker. The trading business is
organised to be separate and distinct from the platform business. Speci cally, no front o ce personnel
are shared between the trading business and the platform, the trading business operates from a separate
physical location, and the trading business does not have access to any platform order ow, execution,
customer or other information on terms that are not otherwise available to any other platform user. In
addition, unless otherwise set forth in the terms of a speci c BitMEX product, the trading business receives
access and trading privileges only on the same terms as are available to any other user.


Why Market Make?

Early on we discovered that market makers are very ckle. They only want to invest the time
connecting to a trading platform that already has ow. What they don’t want to do is try out a new
exchange where they must expend resources connecting only to have no takers. Given trades must
be collateralised, this reduces their returns.


In order to entice others to provide liquidity, we funded an entity that would quote as soon as a new
product listed. As the product became more liquid, this entity would scale back it’s quotes and focus
on another product with lower liquidity on the BitMEX platform.


Right now the activity of this a liated entity is concentrated on the altcoin contracts. XBTUSD and
the quarterly Bitcoin / USD futures contracts have plenty of liquidity, and new market makers join
every day to beef up those orderbooks. Mission accomplished … for now.


Being able to immediately support a new and illiquid product allows us to experiment with products
that other platforms without an anchor market maker cannot. It also speeds up the process to
obtaining other 3rd party liquidity providers.


How Do We Align Incentives?
The trading entity is a for-pro t operation. However, their earnings are comprised of a service fee
paid by the business, that is the BitMEX trading platform. In terms of trading PNL, the market
making desk’s goal is to be breakeven.


If the desk is making too much trading PNL, the business will instruct them to tighten spreads and
increase size. As a franchise, BitMEX succeeds because of greater trading volumes, not because of
the market making desk’s trading PNL.
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The market making desk earns the most if the exchange earns the most. That also means that
dishonest and manipulative behaviour on the part of the market making desk is not tolerated. As
you saw mentioned, the desk sits in a separate physical location. They also have no better
information or access than any other trader on BitMEX. If traders feel that the platform is not fair,
they will leave, and no one will get paid.


Our lead outside counsel is fully aware of the operation and advises us on best practices to ensure
that we place the interests of BitMEX customers rst.


What Activities Does The Desk Engage In?

The primary trading activity is providing two-sided liquidity on selected BitMEX products. The desk’s
current focus is on increasing the liquidity on the altcoin contracts. The desk will also be the anchor
market maker for the UPs and DOWNs products.


The desk also trades OTC with various counterparties globally.


As mentioned earlier, the desk does not engage in manipulative behaviour. The desk does not front-
run customers. The desk does not manipulate either the market on BitMEX or the underlying
exchanges for the purposes of stop loss hunting, or causing cascading margin calls.


None of this behaviour has occurred in the past, and if such behaviour is discovered, those
responsible will be terminated immediately for cause.


Who Runs The Desk?

The head trader is Nick Andrianov. He is a former Deutsche Bank equity ow and exotics options
trader. Nick and I have known each other for over ten years. His integrity is unquestionable.


Nick receives the business objectives from various senior members of BitMEX. The business and the
market making desk work closely with the express goal to make every single BitMEX product as
liquid as possible.


Financial Risks

Trading losses incurred by the market making desk will not a ect the solvency of the BitMEX trading
platform.


As stated above, the market making desk sits within a separate entity. Their goal is to provide
liquidity to BitMEX and the wider crypto capital markets.


– Arthur Hayes, CEO and co-founder




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In "Posts"                           23 May 2019                             In "Crypto Trader Digest"
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   Platform Status

   Status                                    Name


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